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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 22-5325                                                 September Term, 2023
                                                                     1:21-cv-00100-EGS
                                                       Filed On: September 7, 2023
Nancy Gimena Huisha-Huisha, and her minor
child, et al.,

              Appellees

       v.

Alejandro N. Mayorkas, Secretary of
Homeland Security, in his official capacity, et
al.,

              Appellants



       BEFORE:       Henderson, Childs, and Pan, Circuit Judges


                                         ORDER

       Upon consideration of the Supreme Court’s judgment filed June 20, 2023,
vacating this court’s order filed December 16, 2022, and remanding with instructions to
dismiss as moot the motion for leave to intervene filed December 9, 2022; and the
motion to vacate the district court’s judgment and remand with instructions to dismiss as
moot, the opposition thereto, and the reply, it is

      ORDERED that the motion for leave to intervene filed December 9, 2022, be
dismissed as moot. It is

      FURTHER ORDERED that the motion to vacate the district court’s judgment and
remand with instructions to dismiss as moot be granted. The district court’s order
entered on November 15, 2022, is hereby vacated, see, e.g., Louisiana v. CDC, No. 22-
30303, unpublished order at 2 (5th Cir. June 13, 2023); Spell v. Edwards, 962 F.3d 175,
179-80 (5th Cir. 2020), and the case remanded with instructions to dismiss the case as
moot.
     Case 1:21-cv-00100-EGS Document 196-1 Filed 10/31/23 Page 2 of 2
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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 22-5325                                                September Term, 2023

        Pursuant to D.C. Circuit Rule 36, this disposition will not be published. The Clerk
is directed to withhold issuance of the mandate herein until seven days after resolution
of any timely petition for rehearing or petition for rehearing en banc. See Fed. R. App.
P. 41(b); D.C. Cir. Rule 41.

                                       Per Curiam




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